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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                         4:10CR00186-03 SWW


RAFAEL SANCHEZ, III


                                    ORDER

      At the January 30, 2013 Revocation Hearing, the Government withdrew its

Motion to Revoke (docket entry #288) and Defendant agreed that he could no

longer reside with his girlfriend. The Court’s April 6, 2012 Order Setting

Conditions of Release (docket entry #182) is MODIFIED to require Defendant to

reside with his mother in Bryant.

      IT IS SO ORDERED THIS 30th day of January, 2013.



                                    __________________________________
                                    UNITED STATES MAGISTRATE JUDGE
